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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   KAREN ZUCHOWSKI,                                           :
                                                              :
                                                              :
                           Plaintiff,                         :
                     -against-                                :                    January 28, 2021
                                                              :
   SFC GLOBAL SUPPLY CHAIN, INC.,                             :            20-cv-10171 (ALC)
                                                              :
                           Defendant.                         :                 ORDER
                                                              :
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ANDREW L. CARTER, JR., United States District Judge:

        Defendant requests a pre-motion conference in anticipation of filing a motion to

dismiss Plaintiff’s complaint. (ECF No. 15.) Plaintiff shall respond to Defendant’s request by

February 2, 2021.




SO ORDERED.

Dated: January 28, 2021                             ___________________________________

        New York, New York                                        ANDREW L. CARTER, JR.
                                                                  United States District Judge
